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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

TRENTONIOUS ROBINSON                                                                 PLAINTIFF

v.                                    Case No. 4:21-cv-4055

JON VAN METER                                                                      DEFENDANT

                                            ORDER

       Before the Court is Defendant’s Motion to Withdraw (ECF No. 14) a prior motion.

Defendant seeks to have his prior Motion to Dismiss Case (ECF No. 8) withdrawn. Defendant

states that the issue of insufficient service of process underlying his prior motion to dismiss has

been resolved and Defendant consequently requests that the motion to dismiss this matter be

withdrawn. Defendant also requests that the Court allow him twenty-one (21) days from the date

of the instant motion to file an answer to Plaintiff’s complaint. The instant motion was filed on

October 26, 2021.

       Upon consideration, the Court finds that Defendant’s Motion to Withdraw (ECF No. 14)

should be and hereby is GRANTED. Defendant’s Motion to Dismiss Case (ECF No. 8) is hereby

WITHDRAWN. Per his request, Defendant has until November 16, 2021, to file an answer to

Plaintiff’s complaint.

       IT IS SO ORDERED, this 3rd day of November, 2021.

                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            Chief United States Magistrate Judge
